       Case 4:21-cr-00111-RSB-CLR Document 372 Filed 02/15/22 Page 1 of 7




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )       INDICTMENT NO. 4:21-CR-0111
                                              )
RAPHAEL SAMUEL SMITH, et. al.                 )
    Defendant.                                )

     DEFENDANT’S FIRST PARTICULARIZED MOTION TO SUPPRESS SEARCH OF
                              CELL PHONES

COMES NOW the Defendant Raphael S. Smith (hereafter “Smith”), by and through counsel, and

pursuant to the Fourth, Fifth, and Fourteenth Amendments to the United States Constitution, files

this his first particularized Motion to Suppress Search Of Cell Phones, and moves this Court for

an evidentiary hearing, and an order suppressing all evidence of any kind relating to the State’s

search of Smith’s cellphones, and reserves the right to supplement this motion.

        As grounds therefore, Smith alleges that the search of his cell phones and the seizure of

items of data and information from them were improper, illegal, and without probable cause, in

violation of Movant’s rights under the Fourth, Fifth, and Fourteenth Amendments to the United

States Constitution, following particulars:

                                                  I. Facts

        1. In 2019, the Chatham-Savannah Counter Narcotics Team (CNT) began an

          investigation of alleged sources of narcotics supply that included Pen Register Trap

          and Trace (PRTT) orders signed by Hon. Louisa Abbot of the Superior Court of

          Chatham County on co-defendants Eric L. Brown and Vernest Cleveland, among

          others. Eventually, the investigation widened to include wiretaps of co-defendants

          Marquis Thomas and Japheth Orr.



                                                  1
Case 4:21-cr-00111-RSB-CLR Document 372 Filed 02/15/22 Page 2 of 7




2. Prior to June 10th, 2020, Raphael Smith was not known by law enforcement to be part

   of any current scheme to supply narcotics in Chatham County, and his name, number,

   or other identifying information didn’t surface in monitored calls made by the co-

   defendants mentioned above.

3. At approximately 5:46 p.m., individual law enforcement officers of the CNT entered

   the premises belonging to Smith at 5611 LaRoche without a warrant, and forced Smith

   to get on the ground, handcuffed him, and detained him while searching around his

   property, including inside his vehicles, homes, and out-buildings.

4. Agents of the CNT seized various items from Smith’s premises, including the three

   cell phones described above.

5. Seven days later, Judge Mary K Moss of the Magistrate Court of Chatham County,

   State of Georgia, issued a Search Warrant #20-MS-001018 for the cell phones listed

   above

6. Subsequently the warrant was executed on the cell phones described above by

   members of the CNT.

7. Three cell phones belonging to Smith were seized during the execution of the search

   warrant. They were a black Samsung Galaxy J-2 touch screen cell phone, serial

   number RF8N202XVKB;IMEI:353689109239262; a second black Samsung Galaxy J-

   2 touch-screen cell phone, serial number RF8N202XVRW;IMEI:353689109239320;

   and a blue Galaxy S9+ touch-screen cell phone, Model: SM-G965U; serial number

   R28K40HPENK;IMEI:354645091450167.

8. The search warrant was defective in the following particulars:


                                         2
Case 4:21-cr-00111-RSB-CLR Document 372 Filed 02/15/22 Page 3 of 7




         1) The Warrants fail to describe a nexus of illegal activity to the records sought to

            be searched.

         2) The Warrants lack probable cause for each category of information the State

            wants to search.

         3) The Warrants fail to particularly describe the places and content to be searched

            and fails to put any restriction on the timeframe for the records to be searched.

         4) The Warrants are unreasonably overbroad and amount to an illegal general

            warrant.

         5) The Warrant was made almost two months following the events for which it is

            based and was stale.

9.       For the reasons stated herein, this Court should find the warrants were invalid on

     their face and suppress the improperly obtained evidence from trial. Further, because

     the warrants were not supported by probable cause, failed to describe with particularity

     the items to be seized, and provided no nexus of illegal activity, the warrant was

     defective. All evidence seized, and any evidence obtained as a result, should be

     suppressed.



                                     II. Argument

10.      For a search warrant to be reasonable, there must be a nexus between the

     evidence, fruits, or instrumentalities of a crime that law enforcement are searching for

     and the property they want to search to find them. Zurcher v. Stanford Daily, 436 U.S.

     547, 556 (1978). The Government in this investigation intercepted calls made by

     Smith through a Title III wiretap. There is nothing further that the Government can



                                           3
Case 4:21-cr-00111-RSB-CLR Document 372 Filed 02/15/22 Page 4 of 7




      find in Smith’s cell phones that they either have already or cannot get through an

      administrative subpoena of his social media accounts. Therefore, there’s no nexus

      between the evidence, fruits, or instrumentalities of the conspiracy and his three cell

      phones described in the warrant.

11.       The search of a cell phone “…would typically expose to the government far more

      than the most exhaustive search of a house.” Riley v. California, 573 U.S. 373, 396

      (2014). The Fourth Amendment requires law enforcement to get a warrant to search

      the contents of a cellphone seized incident to an arrest. Riley, 573 U.S. at 403. As cell

      phones contain “a digital record of nearly every aspect of [the owners’] lives- from the

      mundane to the intimate,” a much more pervasive scrutiny of one’s life is implicated

      than a search of a physical premises. Id at 395. Furthermore, the types of data stored

      on a cell phone are different both in terms of quantity and quality from the kinds of

      physical data stored in someone’s household and separate probable cause is required

      for each category of data to be searched. Id. The Affidavit for this Warrant fails to

      describe the probable cause for each of the separate listed categories of data to be

      searched. Without such a probable cause showing, the Warrant must fail, and any

      evidence seized as a result suppressed.

 12.       The Government took a shotgun approach to drafting the Search Warrant for

      Movant’s cellphone as it describes several categories of data to be searched meant to

      capture potentially all the information available in the phones limited only by the date

      it was manufactured. The exact language for the scope of the Warrant is the same for

      each one and reads:

          “…any Subscriber Information, call logs, SMS text messages, MMS
          messages, photographs/pictures, third party applications, stored

                                             4
 Case 4:21-cr-00111-RSB-CLR Document 372 Filed 02/15/22 Page 5 of 7




          location date, browser history, and contacts lists for the above listed
          cellular phones.”
      The privacy implications that arise from “…GPS information, the time-stamped data”

      as well as the “…retrospective quality of the data” are unprecedented in our history

      and led the U.S. Supreme Court to require a warrant supported by probable cause to

      obtain cell site location information from wireless carriers. Carpenter v. U.S., 138 S.

      Ct. 2206, 2217 (2018). The lack of a time limitation on the Warrant for the cellphone

      in this case, which contains such time-stamped data that allows the State the kind of

      “tireless and absolute surveillance” discussed in Carpenter which only enhance the

      Warrant’s general character, is an unreasonable intrusion into Morrissette’s privacy.

      This Warrant fails to articulate any probable cause for the open-ended and unlimited

      timespan for the search and is a per se unreasonable intrusion into his privacy and any

      information obtained as a result must be suppressed.

13.       The architects of the U.S. Constitution included the Fourth Amendment in part to

      stop the kind of general warrants that allowed British officials to rummage through

      one’s home and belongings without restraint. Carpenter, 138 S. Ct. at 2213. “A

      general order to explore and rummage through a person’s belongings is not permitted.

      The warrant must enable the searcher to reasonably ascertain and identify the things

      which are authorized to be seized” U.S. v. Cook, 657 F.2d 730, 733 (5th Cir. 1981); see

      also U.S. v. Morton, 984 F.3d 421 (5th Cir. 2021). This Search Warrant allows the

      State to rummage through the entirety of the vast trove of data contained in

      Morrissette’s cell phone without restraint to find something, anything, which connects

      him to illegal activity and are invalid on their face.




                                              5
      Case 4:21-cr-00111-RSB-CLR Document 372 Filed 02/15/22 Page 6 of 7




       14.      Under the Fourth Amendment “no Warrants shall issue, but upon probable

             cause…” The warrant and affidavit “must provide the magistrate with a substantial

             basis for determining the existence of probable cause…” Illinois v. Gates, 462 U.S.

             213, 239 (1983). Probable cause exists “’when the totality of the circumstances

             allows a conclusion that there is a fair probability of finding contraband or evidence

             at a particular location.’” United States v. Williams, 162 Fed.Appx. 884 (11th Cir.

             2006) quoting United States v. Brundidge, 170 F.3d 1350, 1352 (11th Cir. 1999). The

             Affidavit submitted by Cpl. Laney contained information that was directly obtained

             from the illegal search of Morrissette’s vehicle, based on an arrest that was unlawful.

             Evidence seized based on a search warrant that was obtained using information from

             an unlawful search should be excluded from evidence. Wong Sun v. United States,

             371 U.S. 471, 487-488. (1963). Likewise, evidence seize from Morrissette’s cell

             phone based on the Search Warrant must be excluded.

WHEREFORE, Movant respectfully requests that this Court grant an evidentiary hearing and

suppress the improperly obtained evidence against him in this case.

       This 15th day of February 2022.

                                       Respectfully submitted,

                                       /S/ Bruce Harvey____________________
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                                                  6
      Case 4:21-cr-00111-RSB-CLR Document 372 Filed 02/15/22 Page 7 of 7




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UNITED STATES OF AMERICA,                    )
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v.                                           )       INDICTMENT NO. 4:21-CR-0111
                                             )
RAPHAEL SAMUEL SMITH, et. al.                )
    Defendant.                               )

                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the within and foregoing

Defendant’s First Particularized Motion To Suppress Search of Cell Phones pleading upon

opposing counsel by e-mail, electronic filing, facsimile transmission, hand delivery, or by

depositing a copy of same in the United States Mail with sufficient postage attached thereon,

addressed as follows:

                                    Frank Pennington, AUSA
                                    22 Barnard St., Suite 300
                                    Savannah, Georgia 31401

       This 15th day of February 2022.


                                             Respectfully submitted,


                                             /S/ Bruce Harvey____________________
                                             LAW OFFICES OF BRUCE S. HARVEY
                                             ATTORNEYS FOR DEFENDANT
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                                                 7
